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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

GEMAK TRUST,

              Plaintiff,
                                                         C.A. No. 18-1855-RGA
      v.
                                                         JURY TRIAL DEMANDED
RECKITT BENCKISER LLC,

              Defendant.

GEMAK TRUST,

              Plaintiff,
                                                         C.A. No. 18-1854-RGA
      v.
                                                         JURY TRIAL DEMANDED
CHURCH & DWIGHT CO., INC.,

              Defendant.


                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certification, counsel moves for the

admission pro hac vice of Bobby G. Hampton to represent GEMAK Trust in this matter.


 Date: September 30, 2020                         FISH & RICHARDSON P.C.
                                                  /s/ Casey M. Kraning
                                                  Susan E. Morrison (#4690)
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                                                Attorneys for GEMAK Trust


                              ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.



Date:
                                                   United States District Judge




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           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the Commonwealth of

Massachusetts, and pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this

Court for any alleged misconduct which occurs in the preparation or course of this action. I also

certify that I am generally familiar with this Court’s Local Rules. In accordance with Standing

Order for District Court Fund effective 7/3/09, I further certify that the annual fee of $25.00 has

been paid or will be submitted to the Clerk’s Office upon the filing of this motion.


 Signed:

            Bobby G. Hampton
            Fish & Richardson P.C.
            One Marina Park Drive
            Boston, MA 02210-1878
            (617) 521-7818
            hampton@fr.com



Date: September 30, 2020




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